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                     Exhibit 5
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                                          February 20, 2014

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Bruce I. Gear
Trial Attorney
Voting Section, Civil Rights Division
U.S. Department of Justice
950 Pennsylvania Ave., NW
NWB Room 7125
Washington, DC 20530

        Re: Veasey v. Perry, No. 2:13-cv-193 (S.D. Tex.)

Dear Mr. Gear,

        The Unites States’ Privilege Log related to its Responses and Objections to Defendants’
First Requests for Production (Jan. 23, 2014) is incomplete. The Defendants recognize the need
to produce information and supplement privilege logs as information becomes available, which
may have resulted in the insufficiencies in the United States’ Privilege Log. Please advise by
Monday, February 24, 2014, as to whether the United States’ Privilege Log is the final version
for the documents that were produced with its Responses and Objections to Defendants’ First
Requests for Production.

                                                                Regards,

                                                                /s/ G. David Whitley
                                                                G. David Whitley
                                                                Assistant Deputy Attorney General




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